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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF INDIANA
                            HAMMOND DIVISION


 UNITED STATES OF AMERICA,             )
                                       )
            v.                         ) CAUSE NO. 2:06 CR 50
                                       )
 BOK YOUNG, et al.,                    )


                            OPINION AND ORDER

      This matter is before the court on a [Motion for] Bill of

 Particulars filed by the defendant, Bok Young, on July 14, 2006.

 For the reasons set forth below, the motion is DENIED.

                                Background

      On March 20, 2006, the grand jury returned a 12 count

 indictment against the defendant and four other individuals.                The

 defendant was named in three counts of the indictment.                Count 1,

 which includes an Introduction, is 14 pages in length.

      The defendant is mentioned for the first time in paragraph

 22 of Count 1.    It is alleged that between April 2004 and Febru-

 ary 2006, the defendant operated a massage parlor known as the

 Cozy/Barley Spa.    It further is alleged that illegal aliens and

 others performed a variety of sex acts at the spa.

      In Count 6, it is alleged that the defendant harbored an

 illegal alien at the spa on February 22, 2006.          In Count 11, it

 is alleged that the defendant induced the illegal alien to travel

 in interstate commerce for the purposes of engaging in prostitu-

 tion at the spa.    The illegal alien is identified by the initials

 "SJK" in both counts.
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      The pending motion seeks information concerning the names of

 the unindicted members of the conspiracy, the true name of "SJK",

 and information relating to how "SJK" was transported from

 Georgia to Indiana to work at the spa.

                                Discussion

      Federal Rule of Criminal Procedure 7(f) provides:

             The court may direct the government to file a
             bill of particulars. The defendant may move
             for a bill of particulars before or within 10
             days after arraignment or at a later time if
             the court permits. The government may amend
             a bill of particulars subject to such condi-
             tions as justice requires.

 In determining whether to grant the Bill of Particulars, "[t]he

 standard is whether the government's indictment sufficiently

 apprises the defendant of the charges to enable him to prepare

 for trial."     United States v. Canino, 949 F.2d 928, 949 (7th Cir.
 1991).   See also United States v. Fassnacht, 332 F.3d 440, 446
 (7th Cir. 2003); United States v. Glecier, 923 F.2d 496, 501 (7th

 Cir. 1991); United States v. Andrus, 775 F.2d 825, 843 (7th Cir.

 1985).

      A defendant "is only entitled to know the offense with which

 he is charged, not all the details of how it will be proved."

 United States v. Richardson, 130 F.3d 765, 776 (7th Cir. 1997).
 The indictment is not required to "detail every factual nugget

 necessary for conviction", nor is it required to "allege in

 detail the factual proof that will be relied on to support the

 charges."     United States v. Smith, 230 F.3d 300, 306 (7th Cir.
 2000).


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      In making this determination, the court is not required to

 consider only the indictment.         The information may be provided to

 the defendant through "some other satisfactory form."               Canino,
 949 F.2d at 949 (the government had maintained an "open-file"

 policy); Fassnacht, 332 F.3d at 447 n.2 ("the government in this

 case provided the defendants with extensive pretrial discovery,

 giving them full access to all documentary evidence in the

 government's possession, thus further obviating the need for a

 bill of particulars"); Glecier, 923 F.2d at 501-02 (a "volume of

 documents and records" had been provided by the government during

 discovery).

      In February 2006, the government sought a series of material

 witness warrants to arrest 11 of the women working at several

 different spas.    Some of the women were detained as material

 witnesses, and others were released on bond.           "SJK" was one of

 the women working at the spa who was arrested as a material

 witness.

      After the indictment was returned, the government deposed

 the material witnesses, and the material witness warrants were

 dismissed.    In its response, the government has alleged that this

 defendant participated in the deposition of "SJK".

      The material witness depositions were delayed until after

 the government provided the discovery required by Federal Rule of

 Criminal Procedure 16.     In its response, the government has

 alleged that the "defendant has received and had access to

 thousands of pages of discovery material."            (¶ 6) Under all of


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 the circumstances, the defendant has been provided with suffi-

 cient information to prepare a defense for trial.

      For the foregoing reasons, the [Motion for] Bill of Particu-

 lars filed by the defendant, Bok Young, on July 14, 2006, is

 DENIED.


      ENTERED this 18th day of September, 2006




                                   s/ ANDREW P. RODOVICH
                                      United States Magistrate Judge




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